Case 1:25-md-03143-SHS-OTW   Document 53-3   Filed 05/20/25   Page 1 of 21




                 EXHIBIT C
                                       Case 1:25-md-03143-SHS-OTW                      Document 53-3             Filed 05/20/25           Page 2 of 21



                                                         Key: Green represents Plaintiffs’ filing; Purple represents Defendants’ filing

Motion                      Opp.           Topic in         Party Raising          Party             Status of
           Date Filed                                                                                                                            Parties’ Positions
Dkt. No.                   Dkt. No.        Dispute            Dispute            Responding          Dispute
                                                                                  Pending Motions – Topic
                                                                                            SDNY 1
                                                                                                                     Plaintiffs’ Position: Plaintiffs seek cross-production of documents from
                                                                                                                     three relevant custodians, Michael Lampe, Brad Lightcap, and Wojciech
                                                                                                                     Zaremba, which were already produced to the News Plaintiffs, and which
                                                                                                                     impose no burden at all to produce, for the purpose of coordinating
                                                                                                                     depositions. Especially in light of the MDL and OpenAI’s requests that
                                                                                                                     Plaintiffs coordinate depositions and discovery, OpenAI should produce
                                                                                                                     these documents to the SDNY Class Plaintiffs without further delay.
                                                                                                                     OpenAI’s statement that Plaintiffs have refused to coordinate depositions
                                                                                                                     is belied by the fact that the parties, including Plaintiffs, prepared a
                                                                                                                     detailed deposition coordination term sheet during the March 7 settlement
                                                                                                                     conference in court.
Dkt. 344
(Sealed
                                         Cross-                                                   Plaintiffs and     OpenAI’s Position: Plaintiffs’ demand for cross production of Messrs.
 Filing)
                                         production of       SDNY Class                           OpenAI have        Lampe, Lightcap, and Zaremba’s files appears to be an attempt to
           3/31/2025        Dkt. 380                                               OpenAI                            leverage the discovery afforded to the News Plaintiffs to end run around
                                         OpenAI               Plaintiffs                          submitted
Dkt. 345                                 custodians                                               letter briefing.   the discovery limits the Court has imposed and to skirt the coordination
(Public                                                                                                              that is necessary now that this case has been centralized. Although
 Filing)                                                                                                             OpenAI has no objection in principle to cross-producing files from
                                                                                                                     custodians—and, in fact, has already agreed to do so for multiple
                                                                                                                     individuals—it cannot agree to the present demand, when Plaintiffs
                                                                                                                     cannot identify any nonduplicative information any of them is likely to
                                                                                                                     possess. Nor can Plaintiffs explain why they failed to request these
                                                                                                                     individuals’ files sooner. The Court should not sanction these tactics.
                                                                                                                     Instead, to discourage Plaintiffs’ seriatim demands and ensure discovery
                                                                                                                     proceeds efficiently, the Court should require Plaintiffs to limit and
                                                                                                                     coordinate their discovery requests with the other Plaintiffs to ensure that
                                                                                                                     discovery proceeds efficiently. Plaintiffs’ continued refusal to coordinate
                                                                                                                     depositions or discovery and failure to prepare a single joint chart across
                                                                                                                     these centralized cases underscores the need for reasonable limits.


           1
               All docket numbers of disputes listed in this section refer to the Authors Guild docket.
                                   Case 1:25-md-03143-SHS-OTW            Document 53-3              Filed 05/20/25        Page 3 of 21




Motion                   Opp.         Topic in      Party Raising     Party          Status of
           Date Filed                                                                                                              Parties’ Positions
Dkt. No.                Dkt. No.      Dispute         Dispute       Responding       Dispute


                                                                                                       Plaintiffs’ Position: Plaintiffs move to compel Microsoft to respond to
                                                                                                       Interrogatory No. 8, as narrowed by Plaintiffs, which asks Microsoft to
                                                                                                       identify anyone at Microsoft who had communications regarding
                                                                                                       LibGen. As part of its discovery obligations, Microsoft had an affirmative
                                                                                                       obligation to conduct a reasonable investigation into LibGen, which is of
                                                                                                       central relevance to the claims in this action. Microsoft's burden objection
                                                                                                       is meritless because Plaintiffs have already offered to accept a list of the
                                                                                                       individuals who Microsoft's investigation has revealed were
                                                                                                       communicating about LibGen. Microsoft refused to respond to even this
                                                                                  Plaintiffs and       narrowed Interrogatory.
                                    Microsoft’s                                   Microsoft
                                                    SDNY Class
Dkt. 346   3/31/2025    Dkt. 375    Response to                      Microsoft    have                 Microsoft’s Position: Plaintiffs’ Interrogatory No. 8 is irrelevant,
                                                     Plaintiffs
                                    ROG 8                                         submitted            compound, overbroad and objectionable on its face, requiring Microsoft
                                                                                  letter briefing      to query each of its 200,000+ employees whether they have ever
                                                                                                       communicated about a long list of topics—narrowed to LibGen for
                                                                                                       purposes of this motion. In improperly seeking such communications
                                                                                                       through interrogatory, Plaintiffs seek to upend the custodial document
                                                                                                       protocol. Worse, Microsoft already agreed to search for and produce such
                                                                                                       documents from the agreed custodians with respect to the training of
                                                                                                       OpenAI’s models, which is what is at issue in these cases. This is a
                                                                                                       transparent attempt to circumvent the limitations of the pleadings and ESI
                                                                                                       protocol and should be denied.


                                                                                  OpenAI raised        OpenAI’s position: OpenAI renews its motion (ECF 232) to compel
                                                                                  the issue of         Plaintiffs to respond fully to OpenAI’s Interrogatory requesting
                                    OpenAI’s                                      Plaintiffs’          identification of documents reflecting the purported harm they suffered
                                    Renewed                                       refusal to           from OpenAI’s alleged use of their asserted works. OpenAI has reviewed
                                    Letter Brief                                  respond fully        all documents produced by 27 of the 30 Plaintiffs and is still unable to
                                                                    SDNY Class    to OpenAI’s          identify any documents reflecting Plaintiffs’ purported harm; OpenAI is
Dkt. 348    3/31/25     Dkt. 385    Regarding         OpenAI
                                                                     Plaintiffs   Interrogatory        also in the process of reviewing the 525 documents recently produced by
                                    Harm-Related
                                    Interrogatory                                 in connection        3 Plaintiffs, but has not identified anything responsive in those documents
                                    Response                                      with the             either. Plaintiffs are obligated to respond to this interrogatory in full
                                                                                  October 30,          because (i) the Interrogatory is permissible under Local Rule 33.3; (ii)
                                                                                  2024                 having relied on FRCP 33(d), Plaintiffs are required to identify
                                                                                  discovery            responsive documents given they represented that “the answer to [the]
                                   Case 1:25-md-03143-SHS-OTW       Document 53-3          Filed 05/20/25          Page 4 of 21




Motion                   Opp.        Topic in   Party Raising     Party          Status of
           Date Filed                                                                                                        Parties’ Positions
Dkt. No.                Dkt. No.     Dispute      Dispute       Responding       Dispute
                                                                             conference.        interrogatory may be determined by examining, auditing, compiling,
                                                                             The Court          abstracting, or summarizing” Plaintiffs’ business records (FRCP 33(d));
                                                                             denied the         and (iii) documents responsive to this Interrogatory are highly relevant to
                                                                             motion as          Plaintiffs’ asserted damages, and “[w]aiting until the conclusion of fact
                                                                             premature but      discovery would unduly prejudice [OpenAI’s] ability to prepare their
                                                                             permitted          defense.” Xinuos, Inc. v. IBM Corp., No. 22-cv-09777-CS-VR, 2025 WL
                                                                             OpenAI to          663064, at *2 (S.D.N.Y. Feb. 28, 2025). If Plaintiffs have not produced
                                                                             renew its          documents reflecting their alleged harm, they should simply say so.
                                                                             motion after
                                                                             reviewing the
                                                                                                Plaintiffs’ position: OpenAI’s Letter should be denied for three reasons:
                                                                             produced
                                                                                                (1) OpenAI did not adhere to the Court’s Order by reviewing Plaintiffs’
                                                                             documents and
                                                                                                documents before re-raising this issue. OpenAI admitted to this in its
                                                                             meeting and
                                                                                                Letter. Letter at 2, n. 1. Discovery in this case is ongoing and additional
                                                                             conferring
                                                                                                productions are forthcoming. On this basis alone, the Court should deny
                                                                             with Plaintiffs.
                                                                                                OpenAI’s request. (2) OpenAI’s Interrogatories seeking identification of
                                                                             OpenAI and
                                                                                                evidence of harm are premature under Local Rule 33.3. The Court
                                                                             Plaintiffs have
                                                                                                implicitly held this in its Order at Dkt. 290, and it is no less true now.
                                                                             now filed
                                                                                                Courts routinely deny requests for parties to respond to contention
                                                                             additional
                                                                                                interrogatories before the end of discovery. See AT&T Corp. v. Atos IT
                                                                             letter briefs on
                                                                                                Sols. & Servs., Inc., No. 23-CV-01395, 2025 WL 252673, at *1
                                                                             which the
                                                                                                (S.D.N.Y. Jan. 21, 2025). OpenAI has sought and obtained extensive
                                                                             Court has not
                                                                                                discovery, including Plaintiffs’ computation of damages. OpenAI’s
                                                                             yet heard
                                                                                                Letter plays down this evidence, but under Local Rule 33.3, Plaintiffs’
                                                                             argument.
                                                                                                evidence cannot be overlooked in favor of premature contention
                                                                                                interrogatories. (3) OpenAI’s depositions of Plaintiffs will not be
                                                                                                inhibited by denying its request. It is standard in this Court for depositions
                                                                                                to be taken before responses to contention interrogatories are due. See,
                                                                                                e.g., Pratt v. Atalian Glob. Servs. Inc., No. 20 CIV. 3710 , 2021 WL
                                                                                                1234253, at *1 (S.D.N.Y. Apr. 2, 2021). OpenAI is free to ask Plaintiffs
                                                                                                how it harmed them by allegedly using their books without permission or
                                                                                                purchase to develop its highly profitable Generative AI products, and
                                                                                                does not need premature responses to contention interrogatories to do
                                                                                                this.
                                   Case 1:25-md-03143-SHS-OTW        Document 53-3           Filed 05/20/25        Page 5 of 21




Motion                   Opp.         Topic in   Party Raising     Party         Status of
           Date Filed                                                                                                       Parties’ Positions
Dkt. No.                Dkt. No.      Dispute      Dispute       Responding      Dispute
                                                                                                 Plaintiffs’ Position: Plaintiffs move to compel OpenAI to produce three
                                                                                                 categories of documents that OpenAI is improperly redacting or
                                                                                                 withholding for privilege.

                                                                                                 First, documents reflecting primarily business, technical, or policy advice
                                                                                                 are not privileged, and these documents should be produced in full.
                                                                                                 Second, OpenAI must produce documents it is withholding based on the
                                                                                                 attorney-client privilege because OpenAI has not demonstrated that these
                                                                                                 documents are communications with an attorney for the purpose of
                                                                                                 seeking primarily legal advice. Third, OpenAI must also produce
                                                                                                 documents it is withholding based on the common interest privilege
                                                                                                 because OpenAI has failed to demonstrate that it shares a common legal
                                                                                                 interest with Microsoft and that these communications were in
                                                                                                 furtherance of that shared legal interest. Lastly, this issue is ripe for
Dkt. 349                                                                                         adjudication now. Defendants’ notion that Class Plaintiffs need to confer
(Sealed                                                                                          first to consolidate their challenges is merely an attempt to delay this
 Filing)                                                                      Plaintiffs and     challenge further. OpenAI is withholding documents on incorrect
                                    OpenAI’s
                                                 SDNY Class                   OpenAI have        assertions of privilege, and the fact of the MDL does not impact OpenAI’s
           3/31/2025    Dkt. 379    privilege                     OpenAI
                                                  Plaintiffs                  submitted          responsibilities with respect to these documents or its ability to shield
Dkt 351                             assertions
                                                                              letter briefing.   them from production.
(Public
Filing)
                                                                                                 OpenAI’s Position: As with the N.D. Cal. Plaintiffs’ request for in
                                                                                                 camera review, to allow the parties and Court to benefit from the
                                                                                                 efficiencies of MDL consolidation, the Court should deny this motion,
                                                                                                 order the MDL Plaintiffs to meet and confer to consolidate their privilege
                                                                                                 challenges, and reject Plaintiffs’ request for in camera review and
                                                                                                 production of hundreds of privileged documents. Plaintiffs fail to make
                                                                                                 the prerequisite factual showing for in camera review required by United
                                                                                                 States v. Zolin, 491 U.S. 554, 572 (1989). First, OpenAI is not
                                                                                                 withholding business, technical or policy advice. Rather, OpenAI
                                                                                                 redacted attorney-client communications reflecting legal advice, leaving
                                                                                                 the business discussions unredacted. Second, OpenAI’s privilege log
                                                                                                 entries comply with applicable standards for establishing a claim of
                                                                                                 privilege, and include at least the same level of, if not more, detail as
                                                                                                 Plaintiffs’ logs. OpenAI has properly claimed privilege over and logged
                                                                                                 documents involving Adam Nace, a former member of OpenAI’s legal
                                   Case 1:25-md-03143-SHS-OTW          Document 53-3           Filed 05/20/25        Page 6 of 21




Motion                   Opp.         Topic in     Party Raising     Party         Status of
           Date Filed                                                                                                         Parties’ Positions
Dkt. No.                Dkt. No.      Dispute        Dispute       Responding      Dispute
                                                                                                   staff, and Cullen O’Keefe, Esq., a lawyer and former member of
                                                                                                   OpenAI’s legal department. Third, OpenAI has properly claimed the
                                                                                                   common interest privilege as to Microsoft. The Court has denied a prior
                                                                                                   discovery motion challenging the common-interest privilege between
                                                                                                   OpenAI and Microsoft. (Dkt. 293 at 2.) Moreover, by Plaintiffs’ own
                                                                                                   allegations, co-defendants OpenAI and Microsoft shared a common
                                                                                                   interest, among other things, regarding copyright compliance in the
                                                                                                   development of AI models that underpin products offered by both
                                                                                                   companies. (See, e.g., Compl. ¶¶ 1, 4, 9, Dkt. 69.).


                                                                                                   Plaintiffs’ Position: Plaintiffs move to compel OpenAI's responses to
                                                                                                   Plaintiffs' RFAs asking OpenAI to admit or deny whether Plaintiffs'
                                                                                                   works are in OpenAI's training data. Rather than respond to these basic
                                                                                                   questions about OpenAI’s own training data, OpenAI misconstrued
                                                                                                   Plaintiffs’ RFAs and provided vague statements that neither admit nor
                                                                                                   deny that any work is present in the training data.

                                                                                                   OpenAI cannot skirt its Rule 34 obligations in this way. The Court should
                                                                                                   compel OpenAI to provide full responses to Plaintiffs' RFAs for three
Dkt. 354                Dkt. 389                                                                   reasons. First, Plaintiffs have given OpenAI more than enough
(Sealed                 (Sealed                                                                    information about OpenAI's own training data to allow OpenAI to
 Filing)                 Filing)    OpenAI’s                                    Plaintiffs and     respond to these RFAs. Second, OpenAI has waived its supplemental
                                    Responses to   SDNY Class                   OpenAI have        objections to Plaintiffs' RFAs because these objections could have been
           3/31/2025                                                OpenAI
                                    Plaintiffs’     Plaintiffs                  submitted          raised before. Third, even if the Court considers OpenAI's objections, the
Dkt. 355                Dkt. 382    RFAs                                        letter briefing.   Court should overrule OpenAI’s meritless objections. See Kadrey et. al.,
(Public                 (Public                                                                    v. Meta Platforms, Inc., No. 23-CV-03417, 2024 WL 5008065 at *1
 Filing)                 Filing)                                                                   (N.D. Cal. Dec. 6, 2024) (overruling Meta’s objections to similar RFAs).

                                                                                                   OpenAI’s Position: OpenAI provided full and proper responses to
                                                                                                   Plaintiffs’ RFAs based on an extensive review of the evidence. To answer
                                                                                                   each RFA, OpenAI reviewed hundreds of PDFs in Plaintiffs’ deficient
                                                                                                   production, compared those PDFs to hundreds of dataset records, and
                                                                                                   admitted or denied each request appropriately based on a side-by-side
                                                                                                   comparison of those PDFs and records. Plaintiffs take issue only with the
                                                                                                   fact that OpenAI could not provide an unqualified admission based on its
                                                                                                   review of the evidence, but substantial technical issues encountered
                                   Case 1:25-md-03143-SHS-OTW          Document 53-3             Filed 05/20/25        Page 7 of 21




Motion                   Opp.         Topic in    Party Raising     Party         Status of
           Date Filed                                                                                                           Parties’ Positions
Dkt. No.                Dkt. No.      Dispute       Dispute       Responding      Dispute
                                                                                                    during OpenAI’s review preclude anything more certain. These technical
                                                                                                    issues stem from Plaintiffs’ unwillingness to provide OpenAI with any
                                                                                                    search protocol to respond to the RFAs (as the Court instructed them to
                                                                                                    do last year), and Plaintiffs’ refusal to provide error-free text copies of
                                                                                                    their works for the analysis. Even worse, Plaintiffs failed to properly meet
                                                                                                    and confer on OpenAI’s supplemental responses before filing this
                                                                                                    motion, so OpenAI still has no idea what “full responses” Plaintiffs seek.
                                                                                                    Because OpenAI has fully responded to the RFAs, and admitted or denied
                                                                                                    Plaintiffs’ RFAs based on its reasonable investigation into the data, the
                                                                                                    Court should deny this motion to compel.


                                                                                                    Plaintiffs’ Position: Plaintiffs move to compel Microsoft to produce
                                                                                                    financial information regarding products that use OpenAI’s LLMs in
                                                                                                    response to RFP Nos. 62, 63, 65, and Interrogatory No. 6. This material
                                                                                                    is relevant to the liability claims against Microsoft and Plaintiffs'
                                                                                                    remedies. Microsoft is improperly limiting its production to products (1)
                                                                                                    whose name refers to OpenAI GPT versus the complete (though limited)
                                                                                                    set of products into which OpenAI GPT is directly integrated, and (2)
                                                                                                    products that relate to GPT-3 and GPT-3.5, versus the later models in this
                                                                                                    case. Microsoft's position withholds relevant information about models
Dkt. 356                                                                                            that this Court already has determined to be in the scope of the complaint.
(Sealed                                                                        Plaintiffs and
 Filing)                            Microsoft’s
                                                                               Microsoft            Microsoft’s Position: Microsoft has agreed to produce all financial
                                    Response to   SDNY Class
           3/31/2025    Dkt. 374                                   Microsoft   have                 information that could possibly be relevant to disgorgement of profits,
                                    RFP re:        Plaintiffs
Dkt. 359                                                                       submitted            including revenue for all products named in the Complaint as well as
                                    financials
(Public                                                                        letter briefing      other licenses specifically priced to add LLM capabilities. Plaintiffs go
 Filing)                                                                                            far beyond any established concept of direct or indirect profits, seeking
                                                                                                    full financial data about products such as Word and Excel. Authors
                                                                                                    ignore their burden to show some causal connection between the
                                                                                                    revenue they seek and the infringement and rely upon an attenuated
                                                                                                    chain of causation positing that one of their books in OpenAI’s training
                                                                                                    data somehow caused an enterprise or individual consumer to purchase
                                                                                                    Microsoft Office. It’s a frivolous proposition, which undoubtedly is why
                                                                                                    the Complaint also does not make such allegations. Microsoft’s
                                                                                                    agreement to produce financial information for products named in the
                                                                                                    Complaint and priced specific to LLM capabilities is more than
                                   Case 1:25-md-03143-SHS-OTW           Document 53-3          Filed 05/20/25          Page 8 of 21




Motion                   Opp.         Topic in      Party Raising     Party        Status of
           Date Filed                                                                                                           Parties’ Positions
Dkt. No.                Dkt. No.      Dispute         Dispute       Responding     Dispute
                                                                                                    sufficient and accounts for product revenues linked to all LLMs that the
                                                                                                    Court has stated are presently at issue: GPT‑3, GPT‑3.5, GPT‑3.5
                                                                                                    Turbo, GPT‑4, and GPT‑4 Turbo. The request should be denied.

                                                                                                    Plaintiffs’ Position: The parties previously agreed that for coordinated
                                                                                                    30(b)(1) depositions across the News, SDNY Class, and NDCA Class
                                                                                                    cases, witnesses should sit for 12 hours, at least for depositions that have
                                                                                                    occurred so far. OpenAI wants to deviate from this approach and have Mr.
                                                                                                    Brockman sit for 8 hours because he is an “apex” witness.

                                                                                                    Depositions and discovery show Mr. Brockman was not an “apex” witness
                                                                                                    removed from the conduct here. Instead, he was intimately involved with
                                                                                                    the details of the challenged conduct (including the acquisition and use of
                                                                                                    challenged books data and partnerships for additional data). There is no
                                                                                                    basis to deviate from the parties’ prior arrangements of 12 hours.
                                    Whether Mr.
Dkt. 366                            Brockman                                                        OpenAI’s Position: This issue is premature for resolution and should be
(Sealed                             should be                                    Plaintiffs and     addressed in the parties’ renewed discussions on a deposition protocol.
 Filing)                            subject to                                   OpenAI have        There is no legitimate reason why Plaintiffs need Greg Brockman, co-
                                                    SDNY Class                   submitted letter   founder and current President of OpenAI, to sit for twelve hours of
            3/31/25     Dkt. 373    atypical                         OpenAI
                                                     Plaintiffs                  briefing.          deposition over two days. Mr. Brockman is an apex witness whose
Dkt. 361                            deposition
                                    length due to                                                   deposition is “disfavored” and given “special scrutiny” in this circuit. This
(Public                                                                                             is especially true where, as here, Plaintiffs seek information that is readily
 Filing)                            his “apex”
                                    status                                                          available through other means. For example, many of the issues Plaintiffs
                                                                                                    cite can be explored with other OpenAI fact witnesses or 30(b)(6)
                                                                                                    designees—Mr. Brockman has not been designated—including OpenAI’s
                                                                                                    relationship with Microsoft and OpenAI’s data acquisition and use.

                                                                                                    OpenAI looks forward to continuing to meet and confer with Plaintiffs to
                                                                                                    reach agreement on a deposition protocol. Plaintiffs misstate the
                                                                                                    confidential discussions among the parties in connection with prior
                                                                                                    settlement conferences facilitated by this Court. No agreement on
                                                                                                    deposition coordination was reached, and OpenAI never agreed to present
                                                                                                    Mr. Brockman or any apex witness for 12 hours.
                                   Case 1:25-md-03143-SHS-OTW            Document 53-3          Filed 05/20/25          Page 9 of 21




Motion                   Opp.         Topic in       Party Raising     Party        Status of
           Date Filed                                                                                                             Parties’ Positions
Dkt. No.                Dkt. No.      Dispute          Dispute       Responding     Dispute
                                                                                                     Plaintiffs’ Position: Four datasets of torrented, pirated books are at the
                                                                                                     center of Plaintiffs’ allegations in this case. OpenAI has represented to the
                                                                                                     court that it deleted them due to “non-use” and asserted an affirmative
                                                                                                     defense turning on its state of mind as to these datasets. Yet, OpenAI has
                                                                                                     improperly asserted privilege over the circumstances surrounding these
                                                                                                     datasets’ acquisition, use, and deletion.

                                                                                                     Plaintiffs are entitled to the documents and testimony on these datasets.
                                                                                                     “Non-use” is not a privileged reason. Even if privileged, it is waived as
                                                                                                     OpenAI has put the facts surrounding these datasets at issue through its
                                                                                                     “innocent, not willful” affirmative defense and affirmative factual
                                                                                                     representations to the court (they are also necessarily at issue for statutory
                                                                                                     damages and infringement). Even if privileged and not waived, the crime-
                                                                                                     fraud exception applies as torrenting pirated data and then deleting the
                                                                                                     datasets is criminal copyright infringement and/or misconduct which
Dkt. 368                Dkt. 390                                                                     fundamentally undermines the litigation process.
                        (Sealed     OpenAI’s
(Sealed
                         Filing)    Assertions of                                 Plaintiffs and
 Filing)
                                    Privilege with   SDNY Class                   OpenAI have        OpenAI’s Position: Plaintiffs ask this Court to eviscerate OpenAI’s
            3/31/25                                                   OpenAI
                                    respect to        Plaintiffs                  submitted letter   attorney-client privilege based on a single exchange at OpenAI’s
Dkt. 364                Dkt. 381    Books1/                                       briefing.          custodial 30(b)(6) deposition that established OpenAI’s decision to delete
(Public                 (Public     Books2                                                           two datasets well before these cases were filed involved company
 Filing)                 Filing)                                                                     attorneys. The reasons for the deletion are privileged. Plaintiffs did not
                                                                                                     contest that privilege assertion at the deposition or challenge the
                                                                                                     testimony; instead, they immediately proceeded to another line of
                                                                                                     questioning. Plaintiffs insist that OpenAI has waived its privilege by
                                                                                                     allegedly putting these facts at issue. But OpenAI has never relied on
                                                                                                     legal advice regarding the deletion of the datasets to advance any claim
                                                                                                     or defense in this case. OpenAI is not using the privilege as a sword and
                                                                                                     a shield. As for Plaintiffs’ equally baseless crime-fraud theory, there is
                                                                                                     no evidence for Plaintiffs’ speculation that OpenAI’s privileged
                                                                                                     communications intentionally furthered criminal conduct. The best
                                                                                                     support Plaintiffs can offer is a separate case where the court rejected the
                                                                                                     crime-fraud argument. There has been no crime or fraud; only fair use.

                                                                                                     There are no grounds to re-open OpenAI’s custodial 30(b)(6) deposition,
                                                                                                     much less to force OpenAI to produce privileged documents. The Court
                                      Case 1:25-md-03143-SHS-OTW                    Document 53-3             Filed 05/20/25       Page 10 of 21




Motion                      Opp.          Topic in        Party Raising         Party             Status of
           Date Filed                                                                                                                        Parties’ Positions
Dkt. No.                   Dkt. No.       Dispute           Dispute           Responding          Dispute
                                                                                                                  should deny Plaintiffs’ request. If the Court is inclined to consider
                                                                                                                  granting Plaintiffs any relief, given the sanctity of OpenAI’s attorney-
                                                                                                                  client privilege, OpenAI requests the issue be briefed as a full motion.


                                                                                                                  Plaintiffs’ Position: Plaintiffs move to compel Microsoft to produce for
                                                                                                                  inspection data that Microsoft downloaded and provided for training of
                                                                                                                  OpenAI’s models. In particular, Plaintiffs seek an inspection of any
                                                                                                                  copy of LibGen—a pirated books dataset containing Plaintiffs’ works—
                                                                                                                  Microsoft may have made. This request is covered by RFP No. 41 and
                                                                                                                  seeks information highly relevant to Plaintiffs’ direct and contributory
                                                                                                                  infringement claims against Microsoft. Microsoft’s position that the
Dkt. 377                   Dkt. 386                                                                               data is not relevant to the models at issue contravenes this Court’s prior
(Sealed                    (Sealed                                                             Plaintiffs and     rulings and ignores the scope of the operative complaint.
 Filing)                    Filing)     Microsoft’s
                                                                                               Microsoft
                                        Response to        SDNY Class
           3/31/2025                                                            Microsoft      have               Microsoft’s Position: RFP 41 does not cover the requested data
                                        RFP re:             Plaintiffs
Dkt. 365                   Dkt. 388                                                            submitted          because it was not used to train any of the OpenAI models at issue.
                                        training data
(Public                    (Public                                                             letter briefing    OpenAI engaged Microsoft to scrape data from the internet in late 2023
 Filing)                    Filing)                                                                               for evaluation as potential use in training future models. Microsoft
                                                                                                                  streamed the data directly to an Azure storage container controlled by
                                                                                                                  OpenAI. Microsoft does not possess or control the data scraped for
                                                                                                                  OpenAI, nor does that data have anything to do with the models at issue
                                                                                                                  in this case. It was provided to OpenAI in late 2023 long after the
                                                                                                                  models named in the Complaint were trained. Whatever that data may
                                                                                                                  have contained and whatever, if anything, OpenAI did with it, it is not at
                                                                                                                  issue in these cases. The request should be denied.
                                                                                      N. D. CAL. 2
ECF 400    March 18,       ECF 400      Joint letter      N.D. Cal. Class        OpenAI        The issue has      Plaintiffs’ Position: In camera review of the 20 identified clawed-back
            2025                        brief               Plaintiffs                         been fully         documents is both warranted and required under Federal Rule of Civil
                                        requesting in-                                         briefed but        Procedure 26(b)(5)(B), which expressly allows a party to present
                                        camera                                                 remains            disputed documents to the Court under seal for a privilege determination
                                        review of                                              undecided.         without any prerequisite prima facie showing. Specifically, in camera
                                        documents                                                                 review is the default next step when privilege is disputed following a
                                        OpenAI                                                                    clawback. See In re Google RTB Consumer Privacy Litig., 2022 WL

           2
               All docket numbers of disputes listed in this section refer to Tremblay et al v. OpenAI, Inc. et al, 1:25-cv-03482-SHS-OTW (S.D.N.Y.) unless otherwise noted.
                                   Case 1:25-md-03143-SHS-OTW            Document 53-3        Filed 05/20/25       Page 11 of 21




Motion                   Opp.          Topic in      Party Raising     Party      Status of
           Date Filed                                                                                                        Parties’ Positions
Dkt. No.                Dkt. No.       Dispute         Dispute       Responding   Dispute
                                    clawed back                                                   1316586, at *2 (N.D. Cal. May 3, 2022) (in the event of a disputed
                                    as privileged.                                                clawback, “generally the Court will require submission of the disputed
                                                                                                  document for in camera review”); Great-West Life & Annuity Ins. Co. v.
                                                                                                  Am. Economy Ins. Co., 2013 WL 5332410, at *9 & n.4 (D. Nev. Sept.
                                                                                                  23, 2013) (holding the challenging party’s “request for leave,” “[r]ather
                                                                                                  than provid[ing] the material under seal with the motion,” “is not
                                                                                                  supported by . . . Rule 26(b)(5)(B)”).

                                                                                                  Even if a prima facie showing were required, Plaintiffs meet this low
                                                                                                  threshold because OpenAI’s privilege claims are inadequate and
                                                                                                  implausible, including the assertion of privilege over technical business
                                                                                                  matters and documents with unclear legal involvement. OpenAI’s
                                                                                                  clawback notices are procedurally deficient—merely listing Bates
                                                                                                  numbers—and its boilerplate log entries fail to provide detail necessary
                                                                                                  to substantiate privilege claims. The pattern of OpenAI’s repeated, last-
                                                                                                  minute, and inconsistent clawbacks—often on the eve of depositions—
                                                                                                  calls OpenAI’s “inadvertence” into question and demonstrates a lack of
                                                                                                  reasonable privilege review and supports a finding of waiver. OpenAI’s
                                                                                                  conduct—stockpiling clawbacks, providing insufficient explanations,
                                                                                                  and making inconsistent redactions—has prejudiced Plaintiffs, waiving
                                                                                                  any privilege and justifying in camera review. Plaintiffs therefore
                                                                                                  respectfully request that the Court order OpenAI to submit the 20
                                                                                                  disputed documents for in camera review to ensure a fair and accurate
                                                                                                  privilege determination. OpenAI’s offer to provide evidence as an
                                                                                                  alternative form of a relief is not supported by Rule 26(b)(5)(B) and
                                                                                                  should be disregarded. Defendants’ notion that Class Plaintiffs need to
                                                                                                  meet and confer first to consolidate their challenges is merely an attempt
                                                                                                  to delay this challenge. The challenges pertain to distinct documents and
                                                                                                  thus can be decided separately.

                                                                                                  OpenAI’s Position: Without making the required evidentiary showing
                                                                                                  to justify invading the attorney-client privilege with in camera review,
                                                                                                  the N.D. Cal Plaintiffs seek the Court’s review of 20 documents that
                                                                                                  OpenAI clawed back in the normal course of discovery. Plaintiffs insist
                                                                                                  that they are entitled to automatic, in camera review of any clawed back
                                                                                                  documents—a position that misreads Rule 26 and could lead to a litany
                                                                                                  of requests for in camera review going forward. The Court should deny
                                   Case 1:25-md-03143-SHS-OTW            Document 53-3           Filed 05/20/25       Page 12 of 21




Motion                   Opp.         Topic in       Party Raising     Party         Status of
           Date Filed                                                                                                           Parties’ Positions
Dkt. No.                Dkt. No.      Dispute          Dispute       Responding      Dispute
                                                                                                     the N.D. Cal Plaintiffs' current request, and instead, order them to
                                                                                                     consolidate their privilege challenges with the other MDL Plaintiffs and
                                                                                                     meet and confer with OpenAI to narrow the disputes.

                                                                                                     The Court also should deny Plaintiffs’ request on the merits for three
                                                                                                     reasons: (1) Plaintiffs fail to provide evidence justifying in camera
                                                                                                     review; (2) OpenAI’s privilege log fully supports its privilege claims;
                                                                                                     and (3) OpenAI took reasonable steps to prevent disclosure—which
                                                                                                     Plaintiffs do not dispute was inadvertent—and to claw back the
                                                                                                     documents once discovered. OpenAI has been diligent in its review of
                                                                                                     over 900,000 documents and production of over 100,000 documents; the
                                                                                                     mere fact that OpenAI clawed back the twenty documents at issue in
                                                                                                     Plaintiffs’ motion is insufficient to justify in camera review. Moreover,
                                                                                                     Plaintiffs have failed to provide timely privilege logs of their own (or
                                                                                                     privilege logs at all), and what logs they have provided often contain
                                                                                                     threadbare explanations of privilege or log documents that are not
                                                                                                     privileged or protected, as described in the parties' letter brief at Dkt.
                                                                                                     424. If the Court is inclined to grant the motion, the Court should first
                                                                                                     grant OpenAI’s request to submit non-privileged evidence that
                                                                                                     demonstrates the privileged status of the challenged documents. This
                                                                                                     evidence has not yet been submitted because the Magistrate Judge’s
                                                                                                     rules in the Northern District of California require leave to do so, and
                                                                                                     the case was transferred before any ruling on this issue. OpenAI did, in
                                                                                                     fact, request leave to submit this evidence (Dkt. 400 at 5), as required by
                                                                                                     the Magistrate Judge’s rules in the Northern District of California; the
                                                                                                     case was transferred before any ruling on the issue.


ECF 424    March 28,    ECF 424     OpenAI’s           OpenAI         N.D. Cal.    The issue has     OpenAI’s Position: OpenAI respectfully requests this Court to (i) order
            2025                    Motion re                           Class      been fully        Plaintiffs to properly log all documents withheld as privileged as
                                    Plaintiffs’                       Plaintiffs   briefed but       required by the Federal Rules and pursuant to the parties’ agreement at
                                    Allegedly                                      remains           ECF 340 (Case No. 3:23-cv-03223 (N.D. Cal.)), and (ii) compel
                                    Improper                                       undecided.        Plaintiffs to reproduce three improperly redacted documents without
                                    Redactions                                                       redaction. As to the privilege logs, Plaintiffs have not logged
                                    and Alleged                                                      communications between Plaintiffs' outside counsel and third parties.
                                    Failure to Log                                                   Federal Rule of Civil Procedure 26(b)(5)(A)(ii) requires parties to log
                                    Privileged                                                       responsive documents that are withheld on the basis of privilege. The
                                   Case 1:25-md-03143-SHS-OTW         Document 53-3        Filed 05/20/25       Page 13 of 21




Motion                   Opp.         Topic in    Party Raising     Party      Status of
           Date Filed                                                                                                     Parties’ Positions
Dkt. No.                Dkt. No.       Dispute      Dispute       Responding   Dispute
                                    Documents                                                  parties agreed to exclude from the logs a party's “privileged
                                    and                                                        communications with outside litigation counsel,” ECF No. 340 at 2, not
                                    Communicati                                                communications between counsel and non-parties (i.e., third parties), or
                                    ons                                                        between parties and non-parties. The Federal Rules require that such
                                                                                               communications be logged if withheld, and nothing in the parties’
                                                                                               agreement contemplates otherwise.

                                                                                               As to the improper redactions, it is clear from the face of the documents
                                                                                               that the redacted portions are not privileged and thus must be produced.
                                                                                               Plaintiffs have the burden of establishing that the redacted content is
                                                                                               privileged—they have not come close to satisfying that burden and the
                                                                                               documents should therefore be reproduced without redactions.

                                                                                               Plaintiffs’ Position: Plaintiffs’ redactions are proper under both the
                                                                                               attorney-client privilege and the attorney work product doctrine. The
                                                                                               communications at issue—specifically, those between attorney Bryan
                                                                                               Clobes and his client Ayelet Waldman, as well as legal advice and work
                                                                                               product shared by Rachel Louise Snyder—are protected because they
                                                                                               reflect confidential legal advice and strategy. Mr. Clobes’s assertion of
                                                                                               privilege over the communications with his client Mr. Waldman, is
                                                                                               consistent with established law allowing attorneys to assert privilege on
                                                                                               behalf of their clients. Furthermore, the sharing of these communications
                                                                                               with other clients and prospective clients does not constitute a waiver of
                                                                                               privilege, as the common-interest doctrine applies. Plaintiffs and the
                                                                                               recipients of these communications shared a common legal interest in
                                                                                               protecting their copyrighted works and were formulating a joint legal
                                                                                               strategy in anticipation of litigation against a common adversary. It is
                                                                                               well established in this circuit that a written agreement is not required
                                                                                               for the common-interest doctrine to apply. See, e.g., U.S. v. Zhu, 77
                                                                                               F.Supp.3d 327, 330 (S.D.N.Y. 2014) (citing HSH Nordbank AG New
                                                                                               York Branch v. Swerdlow, 259 F.R.D. 64, 72 n.12 (S.D.N.Y. 2009)).
                                                                                               With respect to the privilege log, Plaintiffs have complied with both the
                                                                                               Federal Rules and the parties’ negotiated agreement, which was
                                                                                               designed to reduce unnecessary logging of clearly privileged documents.
                                                                                               The agreement expressly provides that privileged communications with
                                                                                               outside litigation counsel after June 28, 2023, need not be logged, and
                                                                                               the redacted communications at issue fall within this category. OpenAI’s
                                    Case 1:25-md-03143-SHS-OTW                     Document 53-3              Filed 05/20/25        Page 14 of 21




Motion                    Opp.           Topic in        Party Raising          Party             Status of
           Date Filed                                                                                                                         Parties’ Positions
Dkt. No.                 Dkt. No.        Dispute           Dispute            Responding          Dispute
                                                                                                                  suggestion that Plaintiffs are not complying with the agreement is
                                                                                                                  unfounded. Specifically, the redacted portions at issue in
                                                                                                                  LIPPMAN000017 and LIPPMAN000018 contain privileged
                                                                                                                  communications between Mr. Clobes and his client from September 15,
                                                                                                                  2023, almost three months after the parties’ agreed upon cut-off date.
                                                                                                                  With respect to SNYDER004792, Plaintiffs logged this communication
                                                                                                                  even though it postdated the agreed upon cut-off date because an
                                                                                                                  attorney was not a party to the communication. Plaintiffs respectfully
                                                                                                                  request that the Court deny OpenAI’s request to compel disclosure of
                                                                                                                  these protected communications and uphold the parties’ agreement
                                                                                                                  regarding privilege logs.
                                                                                     N.D. Cal.
                                                                                  Rule 72 Motions 3
 ECF       March 13,       ECF        Rule 72            N.D. Cal. Class        OpenAI      The issue has         Plaintiffs’ Position: Magistrate Judge Illman erroneously denied
 388        2025           419        objections           Plaintiffs                       been fully            Plaintiffs’ request to add Katie Mayer as a document custodian, despite
                                      challenging                                           briefed but           compelling evidence of her unique and central role in managing
 ECF                     ECF 420      Magistrate                                            remains               OpenAI’s partnership with Microsoft. Discovery recently produced by
 389                                  Judge                                                 undecided. 4          OpenAI revealed Mayer was not merely involved in logistical
                                      Illman’s                                                                    communications, as previously represented by OpenAI, but was the
                                      ruling on the                                                               manager of OpenAI’s “Microsoft” team and played a substantive role in
                                      inclusion of                                                                projects directly relevant to the litigation, including the facilitation and
                                      OpenAI                                                                      exchange of training data—some of which includes pirated LibGen
                                      employee                                                                    datasets. Contrary to OpenAI’s assertions, in their briefing and during
                                      Katie Mayer                                                                 the meet-and-confer process, Plaintiffs highlighted specific documents
                                      as an                                                                       and testimony showing Mayer’s direct involvement in negotiating and
                                      additional                                                                  coordinating the sharing of sensitive datasets with Microsoft—conduct
                                      document                                                                    that is at the heart of their claims. And Plaintiffs demonstrated that
                                      custodian.                                                                  Mayer is likely to possess unique, non-duplicative information


           3
             Plaintiffs include their Rule 72 Motions to certain orders by Magistrate Judge Illman because of the lack of guidance regarding how such motions are to be
           addressed after the MDL was ordered. OpenAI’s and Microsoft’s position is that Plaintiffs’ Rule 72 motions seeking reconsideration of Magistrate Judge
           Illman’s orders must, per the plain language of the Rule, be addressed by the district court. See Fed. R. Civ. P. 72(a) (“The district judge in the case must
           consider timely objections and modify or set aside any part of the order that is clearly erroneous or is contrary to law.”) (emphasis added). To the extent the Court
           is going to address Rule 72 objections, for completeness OpenAI and Microsoft note that they have Rule 72 objections at ECF 298/ECF 299 and ECF 300/ECF
           301 relating to the Court’s order at ECF 344 in The New York Times v. Microsoft Corp., No. 23-cv-11195.
           4
             Judge Martínez-Olguín ordered Defendants to file an opposition, if any, to Plaintiffs’ Rule 72 objections. ECF 396.
                                   Case 1:25-md-03143-SHS-OTW        Document 53-3        Filed 05/20/25        Page 15 of 21




Motion                   Opp.         Topic in   Party Raising     Party      Status of
           Date Filed                                                                                                     Parties’ Positions
Dkt. No.                Dkt. No.      Dispute      Dispute       Responding   Dispute
                                                                                              unavailable from other custodians (including Ms. Murati) because she
                                                                                              was involved in the day-to-day back and forth with Microsoft in ways
                                                                                              more senior custodians were not.

                                                                                              Magistrate Judge Illman erred in various ways. First, he erred by
                                                                                              requiring Plaintiffs to identify specific, unique documents in the first
                                                                                              instance. That is an impossible standard: parties seeking discovery
                                                                                              cannot be expected to know the precise contents of a custodian’s files
                                                                                              before production. The correct legal standard requires only a showing
                                                                                              that the proposed custodian is likely to have unique, relevant
                                                                                              information. Plaintiffs met that standard. Second, denying Mayer as a
                                                                                              custodian, especially after the court limited Plaintiffs’ ability to obtain
                                                                                              related discovery from Microsoft, effectively blocks access to critical
                                                                                              information about the OpenAI-Microsoft relationship. Finally, the court
                                                                                              erred in relying on the existing number of custodians as a basis for
                                                                                              denial, as the complexity and scale of the case justify the inclusion of
                                                                                              additional custodians that possess unique, relevant evidence, such as
                                                                                              Katie Mayer.

                                                                                              OpenAI’s Position: This dispute concerns a motion for reconsideration
                                                                                              of an order issued by Magistrate Judge Illman which was previously
                                                                                              pending before District Judge Martínez-Olguín, and which now must be
                                                                                              addressed by Judge Stein, not this Court. See Fed. R. Civ. P. 72(a) (“The
                                                                                              district judge in the case must consider timely objections [to magistrate
                                                                                              judge] order[s] . . . .”).

                                                                                              In any event, Judge Illman previously presented Plaintiffs with a clear
                                                                                              decision: designate either Ms. Mayer or another OpenAI employee, Jeff
                                                                                              Wu, as a custodian. Plaintiffs chose Mr. Wu. But they returned just two
                                                                                              months later asking Judge Illman to designate Ms. Mayer anyway—
                                                                                              despite his prior ruling. Judge Illman properly declined.

                                                                                              While Plaintiffs assert that Ms. Mayer has knowledge of various issues,
                                                                                              they fail to explain why those issues are relevant and Ms. Mayer’s
                                                                                              knowledge non-duplicative. Plaintiffs note Ms. Mayer's involvement in
                                    Case 1:25-md-03143-SHS-OTW                     Document 53-3             Filed 05/20/25        Page 16 of 21




Motion                    Opp.          Topic in         Party Raising         Party             Status of
           Date Filed                                                                                                                        Parties’ Positions
Dkt. No.                 Dkt. No.       Dispute            Dispute           Responding          Dispute
                                                                                                                 a purported training data exchange and on a "Microsoft" team. But
                                                                                                                 OpenAI has already designated Mira Murati, the person (1) to whom
                                                                                                                 Ms. Mayer reported, (2) whom negotiated the data exchange in question,
                                                                                                                 and (3) whom Microsoft identified as its primary point of contact at
                                                                                                                 OpenAI. Plaintiffs' arguments to the contrary are either inapposite or
                                                                                                                 verifiably false. First, Judge Illman never required Plaintiffs to identify
                                                                                                                 specific, unique documents. Second, Plaintiffs cannot describe what
                                                                                                                 supposedly critical information they were unable to obtain from
                                                                                                                 Microsoft or why that information would be available from Ms. Mayer.
                                                                                                                 Third, the law is clear that Judge Illman was entitled to consider the
                                                                                                                 existing number of custodians when evaluating Plaintiffs’ demand for
                                                                                                                 Ms. Mayer. Fourth, the statements about Ms. Mayer's role are taken out
                                                                                                                 of context. They concern the sufficiency of Plaintiffs' proffered
                                                                                                                 evidence, not the overall nature of Ms. Mayer's role. Indeed, during the
                                                                                                                 parties' meet and confers Plaintiffs never even asked about, and OpenAI
                                                                                                                 made no representations regarding, the nature of Ms. Mayer's role.


 ECF       March 13,     ECF 421      Rule 72            N.D. Cal. Class        OpenAI          The issue has    Plaintiffs’ Position: Magistrate Judge Illman denied Plaintiffs’ motion
 390 5      2025                      objections           Plaintiffs                             been fully     to compel OpenAI to produce documents responsive to Plaintiffs’
                                      challenging                                                briefed but     supplemental search terms because, in the court’s view, Plaintiffs
                                      Magistrate                                                   remains       failed to make “a clear showing of prejudice stemming from gaps or
ECF 391                                                                                          undecided. 6
                                      Judge                                                                      deficiencies in the search terms disclosed by the producing Party.” But
                                      Illman’s                                                                   the Order did not engage with Plaintiffs’ proposed search strings, nor
                                      ruling on a                                                                did the court even review the search terms before denying Plaintiffs’
                                      motion to                                                                  motion. The Order also ignored the new facts—key to Plaintiffs’
                                      compel                                                                     copyright infringement claims and OpenAI’s fair use defense—that
                                      regarding                                                                  Plaintiffs adduced in discovery warranting the additional search
                                      certain                                                                    strings. See ECF 298 at 3. The failure to address these key issues is
                                      additional                                                                 clear error. In response, OpenAI argues that Plaintiffs seek to revisit an
                                      search terms                                                               issue that Magistrate Judge Illman decided multiple times. But Judge
                                      proposed by                                                                Illman rested these decisions on a fundamental error—that the
                                      Plaintiffs.                                                                requesting Party shall have no input in determining search terms.
                                                                                                                 Meanwhile the ESI Order entered in the Authors Guild Actions strikes

           5
             Upon consolidation and access to cross productions, it is possible that the N.D. Cal. Class Plaintiffs may amend or withdraw their Rule 72 objections on this
           issue.
           6
             Judge Martínez-Olguín ordered Defendants to file an opposition, if any, to Plaintiffs’ Rule 72 objections. ECF 396.
                                   Case 1:25-md-03143-SHS-OTW        Document 53-3        Filed 05/20/25         Page 17 of 21




Motion                   Opp.         Topic in   Party Raising     Party      Status of
           Date Filed                                                                                                      Parties’ Positions
Dkt. No.                Dkt. No.      Dispute      Dispute       Responding   Dispute
                                                                                              the proper balance by providing a procedure by which a requesting
                                                                                              party may request search terms for the other side to run.

                                                                                              Magistrate Judge Illman also deviated from bedrock e-discovery practices
                                                                                              when he ruled that allowing Plaintiffs to have input into OpenAI’s search
                                                                                              terms might lead to additional discovery disputes. But that is no justification
                                                                                              at all, and the alternative is far worse: the court instead granted OpenAI
                                                                                              unfettered discretion to run self-serving search terms for all of Plaintiffs’
                                                                                              RFPs, and then once OpenAI disclosed its search terms, Plaintiffs had no
                                                                                              remedy to address their limitations. That clearly erroneous holding creates the
                                                                                              wrong incentive for litigants to run unduly narrow search terms and
                                                                                              undermines the usual back-and-forth between the parties. This unilateral
                                                                                              search terms approach has been rejected by courts nationwide. See, e.g.,
                                                                                              William A. Gross Const. Assocs., Inc. v. Am. Mfrs. Mut. Ins. Co., 256 F.R.D.
                                                                                              134, 134-136 (S.D.N.Y. 2009) (issuing a “wake-up call to the Bar in this
                                                                                              District about the need for careful thought, quality control, testing, and
                                                                                              cooperation with opposing counsel in designing search terms” and warning
                                                                                              against the perils of “lawyers designing keyword searches in the dark” while
                                                                                              citing The Sedona Conference Cooperation Proclamation for the proposition
                                                                                              that “the best solution in the entire area of electronic discovery is cooperation
                                                                                              among counsel.”). Critically, Plaintiffs’ proposed eight strings (e.g., torrent)
                                                                                              map closely to served RFPs and fill in significant discovery gaps tied to
                                                                                              willful infringement and fair-use defenses.

                                                                                              OpenAI’s Position: Magistrate Judge Illman ruled on this discovery
                                                                                              dispute on February 27, 2025 and denied Plaintiffs’ request. (Dkt. 357
                                                                                              at 2-3.) Plaintiffs’ current challenge is a motion for relief from that
                                                                                              order, which needs to be directed to the district judge. (Dkt. 390; Fed.
                                                                                              R. Civ. P. 72(a) (“The district judge in the case must consider timely
                                                                                              objections [to magistrate judge] order[s] . . . .”)). OpenAI has run over
                                                                                              600 search terms and produced over two millions pages of documents to
                                                                                              N.D. Cal Plaintiffs. Judge Illman found that Plaintiffs’ proposed search
                                                                                              terms would “introduce hundreds of thousands of non-responsive
                                                                                              documents into [OpenAI's] review queue [and] will only prolong fact
                                                                                              discovery while failing to add to the substance of Plaintiffs’ case.” (Dkt.
                                                                                              357 at 2:21-23.) Judge Illman’s reasoning is sound; he considered the
                                                                                              search terms that Plaintiffs put at issue in their briefing and had no
                                      Case 1:25-md-03143-SHS-OTW                     Document 53-3             Filed 05/20/25         Page 18 of 21




Motion                      Opp.           Topic in        Party Raising         Party             Status of
           Date Filed                                                                                                                           Parties’ Positions
Dkt. No.                   Dkt. No.        Dispute           Dispute           Responding          Dispute
                                                                                                                   obligation to consider other terms that Plaintiffs omitted. Further, such
                                                                                                                   review was unnecessary because Plaintiffs failed to make the threshold
                                                                                                                   showing of production deficiencies to justify additional terms.

                                                                                                                   Judge Illman’s order was his third order denying Plaintiffs' requests to
                                                                                                                   compel OpenAI to run Plaintiffs' proposed search terms. (Dkts. 166 at
                                                                                                                   3:6-9; 247 at 3:5-7; 357 at 1:19-3:2.) The ESI Order in In re ChatGPT,
                                                                                                                   to which Plaintiffs stipulated, does not permit Plaintiffs to negotiate
                                                                                                                   OpenAI's search terms. Plaintiffs’ motion for relief asks the Court to not
                                                                                                                   only rewrite the ESI order but also to inject protracted search term
                                                                                                                   negotiations at what was meant to be the close of fact discovery.
                                                                                                                   Plaintiffs' newly manufactured argument that the ESI protocol that they
                                                                                                                   stipulated to is contrary to law is both unsubstantiated and time-barred.
                                                                                                                   Plaintiffs' motion for relief from Judge Illman’s well-reasoned order
                                                                                                                   should be denied.

ECF 405    March 19,       ECF 432      Rule 72            N.D. Cal. Class        Reuters        The issue has     Plaintiffs’ Position: Magistrate Judge Illman’s order denying Plaintiffs’
            2025                        objections           Plaintiffs                          been fully        motion to compel production of documents from Reuters is clearly
                                        challenging                                              briefed but       erroneous for two principal reasons. First, the order exceeded the scope of
ECF 406
                                        Magistrate                                               remains           the dispute by quashing Plaintiffs’ subpoena in its entirety, including as to
                                        Judge                                                    undecided. 7      executed license agreements that Reuters was already willing to produce.
                                        Illman’s                                                                   Reuters’ willingness to produce these executed licenses demonstrates that
                                        ruling on a                                                                compliance would not be unduly burdensome or disproportionate, and that
                                        motion to                                                                  the court’s failure to recognize this agreement improperly deprived
                                        compel the                                                                 Plaintiffs of access to highly relevant evidence. The executed licensing
                                        production of                                                              agreements are directly relevant to the core issues in the case, particularly
                                        documents in                                                               the existence and scope of a market for licensing text data for use in training
                                        response to a                                                              large language models (LLMs), which is central to both the fair use analysis
                                        document                                                                   and the calculation of damages.
                                        subpoena
                                                                                                                   Second, the order fundamentally undervalues the relevance of the requested
                                        issued to
                                                                                                                   licensing evidence. After the Rule 72 briefs were filed, the Copyright Office
                                        Reuters News
                                                                                                                   made clear that “[l]ost revenue in actual or potential licensing markets can
                                        Media Inc.
                                                                                                                   also be an element of market harm.” U.S. Copyright Office, Copyright and
                                        (“Reuters”).
                                                                                                                   Artificial Intelligence: Part 3: Generative AI Training, at 66 (May 2025) (Pre-
                                                                                                                   Publication Version). News content licenses, such as those held by Reuters,

           7
               Judge Martínez-Olguín ordered Reuters to file an opposition, if any, to Plaintiffs’ Rule 72 objections. ECF 413.
                                   Case 1:25-md-03143-SHS-OTW        Document 53-3        Filed 05/20/25        Page 19 of 21




Motion                   Opp.         Topic in   Party Raising     Party      Status of
           Date Filed                                                                                                     Parties’ Positions
Dkt. No.                Dkt. No.      Dispute      Dispute       Responding   Dispute
                                                                                              are highly probative of the market for high-quality text data used in LLM
                                                                                              training, regardless of whether the content is classified as “news” or “non-
                                                                                              news.” To OpenAI, the volume of high-quality text data for us as LLM
                                                                                              training data is critical; not the book versus non-book distinction. Moreover,
                                                                                              OpenAI’s primary defense is fair use, and the effect of the alleged
                                                                                              infringement on the potential market for or value of the copyrighted work is
                                                                                              considered the most important factor in the fair use analysis. Harper & Row
                                                                                              Publ’rs v. Nation Enters., 471 U.S. 539, 566 (1985). Furthermore, limiting
                                                                                              discovery to party evidence and expert testimony, as the order suggests, is
                                                                                              clearly erroneous because real-world licensing agreements from sophisticated
                                                                                              market participants like Reuters are necessary to provide a comprehensive
                                                                                              and reliable picture of the relevant market for an expert to assess and base
                                                                                              their testimony on. Without access to such evidence, Plaintiffs ability to
                                                                                              develop a robust damages methodology is unfairly hampered.

                                                                                              Non-Party Reuters News & Media Inc.’s (“Reuters”) Position:
                                                                                              Plaintiffs’ motion for relief from Magistrate Judge Illman’s order
                                                                                              denying their motion to compel was brought pursuant to Federal Rule of
                                                                                              Civil Procedure 72(a), which expressly provides that a “district judge
                                                                                              must consider timely objections” to a magistrate judge’s non-dispositive
                                                                                              pre-trial order. Thus, plaintiffs’ motion for relief is not a discovery
                                                                                              motion and Reuters does not agree that it is properly included in
                                                                                              response to the court’s May 9, 2025 order relating to the May 27, 2025
                                                                                              discovery conference.

                                                                                              Regardless, as Judge Illman correctly found in denying plaintiffs’
                                                                                              motion to compel, plaintiffs are not entitled to “undeniably confidential
                                                                                              commercial information (if not trade secrets) from one non-party,
                                                                                              Reuters, about its relationship with another non-party” simply because
                                                                                              they served a subpoena and deemed the materials “relevant.” (ECF 378
                                                                                              at 4.) Rather, Rule 45 required that plaintiffs make a “concrete, not
                                                                                              speculative” showing of “substantial need” for the requested materials.
                                                                                              Id. Plaintiffs wholly failed to meet this burden and their motion was
                                                                                              properly denied. (Id. at 4-5 (“what Plaintiffs have not done is to even
                                                                                              mention (let alone convincingly establish) why the essence of this
                                                                                              information (i.e., its upshot or import, which is merely information
                                                                                              about the existence of a market for licensing copyrighted ‘textual data’
                                   Case 1:25-md-03143-SHS-OTW                     Document 53-3             Filed 05/20/25        Page 20 of 21




Motion                   Opp.           Topic in        Party Raising         Party             Status of
           Date Filed                                                                                                                        Parties’ Positions
Dkt. No.                Dkt. No.        Dispute           Dispute           Responding          Dispute
                                                                                                                to train an AI model) cannot be either obtained from OpenAI, or by
                                                                                                                expert witness testimony, or by any other means that would not involve
                                                                                                                prying into the confidential commercial information of two non-
                                                                                                                parties”).) Plaintiffs’ motion for relief – which relies on the same
                                                                                                                sweeping arguments underlying their motion to compel – does not
                                                                                                                establish any “clear error” in Judge Illman’s order, and their objections
                                                                                                                should be overruled.
 ECF       March 20,     ECF 434     Rule 72            N.D. Cal. Class       Microsoft      The issue has      Plaintiffs’ Position: Magistrate Judge Illman’s order denying Plaintiffs’
 409 8      2025                     objections           Plaintiffs                         been fully         motion to compel Microsoft’s compliance with the document subpoena is
                                     challenging                                             briefed but        clearly erroneous and contrary to law. The order improperly disregards
                                     Magistrate                                              remains            Microsoft’s instrumental and deeply integrated partnership with OpenAI,
ECF 410                              Judge                                                   undecided. 9       which is central to the issues in this litigation. Plaintiffs have presented
                                     Illman’s                                                                   evidence that Microsoft not only invested billions into OpenAI but also
                                     ruling on a                                                                actively collaborated in the training, development, and commercialization
                                     motion to                                                                  of the OpenAI language models at issue. Critically, discovery has revealed
                                     compel                                                                     that Microsoft was aware of and approved OpenAI’s use of copyrighted
                                     regarding a                                                                data it obtained by illegal means, including by torrenting from shadow
                                     document                                                                   libraries like LibGen. Microsoft and OpenAI even exchanged that
                                     subpoena                                                                   copyrighted training data. Microsoft’s knowledge, approval, and
                                     issued to                                                                  participation in these activities is not only highly relevant to the claims of
                                     Microsoft                                                                  copyright infringement and willfulness, but also essential to establishing the
                                     Corp.                                                                      full scope of OpenAI’s unlawful infringement.
                                     (“Microsoft”)
                                                                                                                Furthermore, Magistrate Judge Illman clearly erred by applying the wrong
                                                                                                                legal standard. Judge Illman applied a heightened “substantial need”
                                                                                                                showing for all requests, mischaracterizing the discovery as seeking only
                                                                                                                confidential commercial information. The proper standard under Rule
                                                                                                                26(b)(1) is a balance of relevance, burden, and proportionality. The
                                                                                                                information Plaintiffs seek—particularly information regarding OpenAI’s
                                                                                                                unlawful conduct—should not be granted any extra level of protection,
                                                                                                                whether due to Microsoft’s current status as a non-party or due toto the
                                                                                                                purported status of the information as trade secrets or other confidential
                                                                                                                commercial information.. Microsoft is the only source for its own internal

           8
             If the Court orders cross production from Microsoft, Plaintiffs may come back to the Court after reviewing the production and report on whether this remains a
           live dispute or whether the dispute is mooted.
           9
             Judge Martínez-Olguín ordered Microsoft to file an opposition, if any, to Plaintiffs’ Rule 72 objections. ECF 413.
                                   Case 1:25-md-03143-SHS-OTW        Document 53-3        Filed 05/20/25        Page 21 of 21




Motion                   Opp.         Topic in   Party Raising     Party      Status of
           Date Filed                                                                                                      Parties’ Positions
Dkt. No.                Dkt. No.      Dispute      Dispute       Responding   Dispute
                                                                                              documents, which would naturally include its own internal communications
                                                                                              about assessments of OpenAI’s use of training data as part of the Microsof-
                                                                                              OpenAI relationship. The burden on Microsoft to produce responsive
                                                                                              documents is minimal due to its participation as a co-defendant with
                                                                                              OpenAI in related matters concerning the same subject matter and due to
                                                                                              Microsoft’s virtually limitless resources. Any concerns about
                                                                                              confidentiality are adequately addressed by the existing protective order.
                                                                                              Plaintiffs therefore request that the court set aside the magistrate judge’s
                                                                                              order and compel Microsoft to produce all responsive documents, as the
                                                                                              discovery Plaintiffs seek is vital to the just and complete resolution of the
                                                                                              case.

                                                                                              Microsoft’s Position: Inclusion of this issue in this chart is improper
                                                                                              because Plaintiffs’ Rule 72 objections must be addressed by the district
                                                                                              court judge. Microsoft maintains that Magistrate Judge Illman was
                                                                                              correct in denying Plaintiffs’ motion to compel, and Microsoft refers
                                                                                              the Court to its Opposition to Plaintiffs’ Rule 27 Objection (ECF 434).
